Case 1:25-cv-23147-DPG Document 1-7 Entered on FLSD Docket 07/15/2025 Page 1 of 5




                                   EXHIBIT 7
   Case 1:25-cv-23147-DPG Document 1-7 Entered on FLSD Docket 07/15/2025 Page 2 of 5

ATTN:                Senator Hawley
FROM:               TIKTOK GLOBAL NETWORK INC
SUBJECT:            PLS HELP CFIUS DISCLOSE TO PUBLIC SUPPRESSED TIKTOK FULL “DIVESTMENT” OFFER
PAGES:              23

Hello, I am one of the financial advisors to the bidder described further below and I do not have permission to disclose the matter I touch
on below, but I felt it was important to at least get fact out to Senator Hawley that CFIUS is sitting on a bona fide
“divesting” solution TT deal from a U.S. company as of Monday AM which has no ties to China (see page 22/last page of fax)

(note: identity is redacted in documents you can review as the bidder not wanting to step on toes of CFIUS is waiting for end of statutory
10 day Sec. 2.(d)(i) notification notice period (ending on Friday or Monday) before publicly announcing the bid, and successful completion
of Review of "proposed sale" agreement under Sec 2d(ii).

Summary of material presented and facts:

The $33.3 billion dollar TikTok “proposed sale” agreement under review by ByteDance & U.S. Govt/CFIUS


-ByteDance and U.S. Govt CFIUS division began review to approve new bidder on 09/09/2020 thru 2:29 PM thru email received:

Subject: Sec. 2.(d)(i) notification*
(see page 19 of attached pdf)

Bidder’s 09/14/2020 5:07 AM email Subject: Review of "proposed sale" agreement under Sec 2d(ii)
(See page 1)

*Sec. 2. Actions Ordered (d) ByteDance shall not complete a sale or transfer under section 2(b) to any third party: (i) until ByteDance
notifies CFIUS in writing of the intended recipient or buyer; and (ii) unless 10 business days have passed from the notification in section
2(d)(i) and CFIUS has not issued an objection to ByteDance.

Conclusion:
 ByteDance and U.S. Government CFIUS agency reviewing $33.3 billion dollar sale offer which is only legally compliant (see above Sec
2(d)(ii) ) solution available (actual agreement received executable ie signed by BUYER) for ByteDance to comply (ie: ByteDance can
execute an actual agreement in its possession which satisfies President Trump’s demand to reach a deal for “divestment” under the
Executive Orders) with the August 6, 2020 and August 14, 2020 E.O. orders before September 20, 2020 deadline.

Senator Hawley may want to consider posing further questions to CFIUS including:

Under August 10, 2020 E.O, is the Oracle cloud deal prohibited under 2(f) which states

(f) Any transaction or other device entered into or employed for the purpose of, or with the effect
of, evading or circumventing this order is prohibited.
And would it be reasonable for Senator Hawley to seek referral thru Sec 2(i) to the U.S. Atty General to determine if the Oracle attempted
non-divestment “transaction” is obstructing the President’s E.O. from being carried out including blocking or allowing ByteDance to avoid
signing the asset sale agreement in its possession which would consummate “divestment” as ordered by the President.

(i) The Attorney General is authorized to take any steps necessary to enforce this order.
And further for the AG to review if ByteDance, Oracle or its Chinese shareholders including Sequoia China are actively violating
violating 2(b) thru Sequoia’s Managing Partner Mr. Leone who’s brother is Mr. Leone, Senior VP Cloud division of Oracle,

Sec. 2. (a) Any transaction by a United States person or within the United States that evades or avoids, has the purpose of evading or
avoiding, causes a violation of, or attempts to violate the prohibition set forth in this order is prohibited.
(b) Any conspiracy formed to violate any of the prohibitions set forth in this order is prohibited.

Regards
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Case 1:25-cv-23147-DPG Document 1-7 Entered on FLSD Docket 07/15/2025 Page 3 of 5




   ---------- Original Message ----------
   From: Senator Rick Scott <receipt@rickscott.senate.gov>
   To: bgreenspan@tiktokglobalnetwork.com
   Date: 09/17/2020 11:07 AM
   Subject: Re: CFIUS/TikTok New National Security Solution


   Senator Rick Scott is proud to represent every citizen of Florida. Thank you for
   contacting Senator Rick Scott's of5ce. This email serves as con5rmation that we have
   received your online submission.

   Please do not reply to this email. In order to contact our of5ce again, please return to
   our website.
    Case 1:25-cv-23147-DPG Document 1-7 Entered on FLSD Docket 07/15/2025 Page 4 of 5


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